   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                 ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-9370
                                        * * * ICRS CONFIDENTIAL * * *

        To: BURKES, KEVIN L. - #275991
            UNIT: _S-_H -- _H04-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     06/26/2023
           Date Complaint Received:         06/26/2023
           Subject of Complaint:        12 - Other

           Brief Summary:               claims there is a lack of wellness checks due to the lockdown

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: June 27, 2023                                   Page 1 of 1                         Institution Complaint Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
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   DEPARTMENT OF CORRECTIONS                                                                                              WISCONSIN
   Department of Adult Institutions                                                                                 Administrative Code
   DOC-402 (Rev. 04/18)                                                                                               Chapter DOC 310

                                                ICE REJECTION
                                      COMPLAINT NUMBER WCI-2023-9370
                                        * * * ICRS CONFIDENTIAL * * *


        To: BURKES, KEVIN L. - #275991
            UNIT: _S-_H -- _H04-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information: REJECTED


         Date Complaint Acknowledged: 06/26/2023                                              Inmate Contacted? No

         Date Complaint Received:           06/26/2023

         Subject of Complaint:             12 - Other

         Document(s) Relied Upon:          DOC 310

         Brief Summary:                    claims there is a lack of wellness checks due to the lockdown

         Rejection Comment:                TM Inmate complains that due to staff shortage, WCI is on a lockdown and that
                                           there is a lack of wellness checks and he may have a medical emergency and
                                           not be able to contact staff.

                                           The institution is not on lockdown due to staff shortages and the inmate is
                                           aware of this as he received a memo regarding the lockdown. Inmate Burkes
                                           seeks to get a judgment on a pretend controversy when in fact, none exists.
                                           The ICRS will not decide upon a state of facts which has not yet arisen nor
                                           upon a matter that is either future, contingent or uncertain. There is no
                                           evidence that the inmate is going to be in danger and not be able to contact
                                           staff is some emergency arises. DOC 310.03(13) defines Moot as any of the
                                           following: "(a) Abstract and not arising from existing facts or rights. (b) Already
                                           resolved." The issue of the complaint is determined to be moot by definition.
                                           Rejection is warranted on that basis pursuant to DOC 310.10(6)(f).
         Rejection Code:                   Moot
         Decision Date:                   06/26/2023




                                           T. Moon - Institution Complaint Examiner
          Per DOC 310.10(10), you may appeal the rejection of this complaint within 10 days to the appropriate reviewing
          authority. The reviewing authority will only review the basis for the rejection of this complaint, not the merits of
          the complaint.

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   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-402 (Rev. 04/18)                                                                                          Chapter DOC 310

                                                ICE REJECTION
                                      COMPLAINT NUMBER WCI-2023-9370
                                        * * * ICRS CONFIDENTIAL * * *


        To: BURKES, KEVIN L. - #275991
            UNIT: _S-_H -- _H04-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information: REJECTED



          If you wish to appeal, complete form DOC 2182 Request for Review of Rejected Complaint and send to:

                      INSTITUTION COMPLAINT EXAMINER
                      WAUPUN CORRECTIONAL INSTITUTION
                      200 S. MADISON STREET
                      P. O. BOX 351
                      WAUPUN, WI 53963-0351

          The reviewing authority's decision is final pursuant to s. DOC 310.10(10), Wis. Adm. Code.




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   DEPARTMENT OF CORRECTIONS                                                                                               WISCONSIN
   Department of Adult Institutions                                                                                  Administrative Code
   DOC-2193 (Rev. 04/18)                                                                                               Chapter DOC 310



                                      ICE RECEIPT OF REJECTION APPEAL
                                       COMPLAINT NUMBER WCI-2023-9370
                                          * * * ICRS CONFIDENTIAL * * *

        To: BURKES, KEVIN L. - #275991
            UNIT: _S-_H -- _H04-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
            Date Rejection Appeal Acknowledged: 07/10/2023

            Date Rejection Appeal Received:            07/05/2023

            Subject of Complaint:         12 - Other

            Brief Summary:                claims there is a lack of wellness checks due to the lockdown

            Your request for review of your rejected complaint has been received. The appropriate reviewing authority
            shall only review the basis for the rejection. You will receive a written decision from the reviewing authority.
            The reviewing authority's decision is final pursuant to s. DOC 310.10(10), Wis. Adm. Code.




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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-2194 (Rev. 04/18)                                                                                        Chapter DOC 310


                REVIEWING AUTHORITY'S DECISION ON COMPLAINT REJECTION
                            COMPLAINT NUMBER WCI-2023-9370
                              * * * ICRS CONFIDENTIAL * * *

        To: BURKES, KEVIN L. - #275991
            UNIT: _S-_H -- _H04-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
          Date Rejection Appeal Acknowledged: 07/10/2023

          Date Rejection Appeal Received:        07/05/2023
          Subject of Complaint:             12 - Other
           ICE's Rejection Reason:          Moot
          Reviewer's Decision:              This complaint was appropriately rejected by the ICE in accordance with DOC
                                            310.10(6).

          Reason(s) for Decision:           Mr. Burkes does not define what he considers a "wellness check" so no
                                            determination can be made regarding this concern. There has been no change
                                            regarding staff responsibilities as a result or, or during, the period of modified
                                            movement.

                                            Mr. Burkes is correct in his statement regarding that the general population
                                            cells are not equipped with "emergency call buttons."

          Decision Date:                    07/10/2023




                                       R. Hepp - Warden




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                                                                                                        GENERAL REPORT
                                                                                                           WCI-2023-9370
                                                 State of Wisconsin
                                                   Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:        June 26, 2023
              Date Complaint Received:         June 26, 2023
              Subject of Complaint:          12 - Other

              Brief Summary:                 claims there is a lack of wellness checks due to the lockdown

        ICE Rejection Information:      (Signed on 6/26/23 10:06:15AM):
              Document(s) Relied Upon:       DOC 310
              ICE's Summary of Facts:        TM Inmate complains that due to staff shortage, WCI is on a lockdown and
                                             that there is a lack of wellness checks and he may have a medical
                                             emergency and not be able to contact staff.

                                             The institution is not on lockdown due to staff shortages and the inmate is
                                             aware of this as he received a memo regarding the lockdown. Inmate Burkes
                                             seeks to get a judgment on a pretend controversy when in fact, none exists.
                                             The ICRS will not decide upon a state of facts which has not yet arisen nor
                                             upon a matter that is either future, contingent or uncertain. There is no
                                             evidence that the inmate is going to be in danger and not be able to contact
                                             staff is some emergency arises. DOC 310.03(13) defines Moot as any of
                                             the following: "(a) Abstract and not arising from existing facts or rights. (b)
                                             Already resolved." The issue of the complaint is determined to be moot by
                                             definition. Rejection is warranted on that basis pursuant to DOC 310.10(6)
                                             (f).

              ICE's Recommendation:          Rejected - Moot
              ICE's Recommendation Date: June 26, 2023

        Rejection Appeal Information:
              Date Appeal Acknowledged:      July 10, 2023
              Date Appeal Received:          July 05, 2023

        RA's Decision on Rejection Appeal:       (Signed on 7/10/23 10:15:43AM):
              RA's Comments:                 Mr. Burkes does not define what he considers a "wellness check" so no
                                             determination can be made regarding this concern. There has been no
                                             change regarding staff responsibilities as a result or, or during, the period of
                                             modified movement.

                                             Mr. Burkes is correct in his statement regarding that the general population
                                             cells are not equipped with "emergency call buttons."

              RA's Decision:                 The rejection made by the ICE was Appropriate
              RA's Decision Date:            July 10, 2023




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                                                                                                                                                 Department of Corrections

                                                                                                                                         DISTRIBUTION ITEMS
                                                                                                                                 for COMPLAINT NUMBER WCI-2023-9370
                                                                                  Item                          Create Date            Created By          Sent To            Inmate ID          Print Date             Printed By
                                                                          ICE Receipt                    06/26/2023 10:01:43AM   Tonia Moon               WCI                   275991    06/27/2023 1:38:05PM   Tonia Moon
                                                                          ICE Rejection                  06/26/2023 10:06:15AM   Tonia Moon               WCI                   275991    06/27/2023 1:38:06PM   Tonia Moon
                                                                          ICE Rejection Appeal           07/10/2023 9:04:22AM    Tonia Moon               WCI                   275991    07/10/2023 1:59:42PM   Tonia Moon
                                                                          Receipt
                                                                          RA Rejection Appeal            07/10/2023 10:15:43AM   Randall Hepp             WCI                   275991    07/10/2023 1:59:42PM   Tonia Moon
                                                                          Report




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